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           APPENDIX L
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Technical Committee (03/16/2000) (Table 1: Habitat Impact of the Construction of the MR-GO)

(1999) NED-188-000001511 et seq. at 1559.

Channel Widening

       376. At the time of constructing the MR-GO, the Corps knew—and predicted—that the

unstable Reach 2 banks—composed of loose, porous sandy soils that were susceptible to erosion,

particularly from ship waves in the channel—would erode and the channel would widen over

time. Exh. 15, MR-GO Design Memo 1-B (May 1959), at p. 5.; Exh. 200, MR-GO General

Design Memo 1-A at p. 7; Exh. 200, MR-GO General Design Memo No. 2, Supplement 4

(foreshore protection) at pp. 1-30; Exh. 183, Podany Depo. At 74:8-77:16.

       377. From at least 1976 to the time of Hurricane Katrina, the Army Corps knew that the

MR-GO’s unarmored channel—due to erosion caused by ship wakes as high as three or four

feet—continued to widen at the rate of 42 feet per year, eventually expanding through

unmitigated erosion from 650 feet to 2,000 feet and in some places 3,700 feet. Exh. 91, Kemp

Expert Report (July 2008) at pp. 91, 186; Exh. 193, Memorandum of Cecil W. Soileau (Chief,

Hydraulics and Hydrologic Branch, Commenting on Army Corps, Mississippi River-Gulf Outlet,

St. Bernard Parish, Louisiana (Bank Erosion), May 24, 1988); Exh. 98, Morris Expert Report

(July 2008) at p. 23, Fig. 9-1.

       378. Not only did unarmored Reach 2 erode from 650’ to 2,000 to 3,700’ in some

places, but the unarmored Reach 1/GIWW also widened beyond its authorized width from 650’

to 1,000’ due to wave wash and erosion from passing ships. Exh. 93, Kemp Supp. Decl. (Oct.

2008) (Oct. 2008) at ¶2; Exh. 98, Morris Expert Report (July 2008) at p. 23.

       379. This increase in the unprotected channel’s width and volume of water had several

adverse effects, including (1) the breaching of the Lake Borgne shoreline adjacent to the MR-GO




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which allowed storm surge within Lake Borgne to dump directly into the MR-GO; (2) the

enormous loss of marshland adjacent to the channel; (3) destabilizing the LPV structures by

encroachment and lateral displacement and subsidence; and (4) shoaling within the MR-GO,

requiring continual dredging and disposal of dredged spoil in the wetlands and accelerating their

demise. Exh. 13, Theis 702c Expert Report at ¶10; Exh. 9, 1988 Recon Report at pp. 10-11;

Exh. 8, Naomi Depo. at 327:2-9; Exh. 72, Bea Expert Decl. No. 1 (July 2008) at pp. 162-66;

Exh. 81, Bea Expert Report Summary (Jan. 2008) at pp. 3-7.

Accelerated and Increased Subsidence and Compromising of LPV Structures

       380. As illustrated below, the widening of the Reach 2 channel had another significant

adverse effect of increasing and accelerating LPV structure subsidence and thereby destabilizing

and compromising the LPV structures’ ability to perform as intended during Katrina. Exh. 72,

Bea Expert Decl. No. 1 (July 2008) at pp. 162-66; Exh. 81, Bea Expert Report Summary (Jan.

2008) at p. 6, ¶6.




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